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               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN



EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

                    Plaintiff,                    Civil Action No.:
                                                  Honorable:
v.


                                                  COMPLAINT AND JURY
                                                  TRIAL DEMAND

EDEN FOODS, INC.,



                    Defendant.
                                                                           /


                          NATURE OF THE ACTION

        This is an action under Title VII of the Civil Rights Act of 1964

and Title I of the Civil Rights Act of 1991 to correct unlawful

employment practices on the basis of sex (female) and to provide

appropriate relief to Julie Yeiter (“Yeiter”) and other similarly

aggrieved female employees who were affected by such unlawful

practices. As alleged with greater particularity in paragraph 12 below,

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the EEOC alleges that Defendant, Eden Foods, Inc. (“Defendant”),

violated Title VII by creating and maintaining a sexually hostile work

environment.

                      JURISDICTION AND VENUE

     1.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C.

§§ 451, 1331, 1337, 1343, and 1345. This action is authorized and

instituted pursuant to Section 706(f)(1) and (3) of Title VII of the Civil

Rights Act of 1964 as amended (“Title VII”), 42 U.S.C. § 2000e-5(f)(1)

and (3).

     2.    The alleged unlawful employment practices were committed

within the jurisdiction of the United States District Court for the

Eastern District of Michigan.

                                 PARTIES

     3.    Plaintiff Equal Employment Opportunity Commission (“the

Commission”) is the agency of the United States of America charged

with the administration, interpretation and enforcement of Title VII

and is authorized to bring this action by Section 706(f)(1) and (3) of

Title VII, 42 U.S.C. §2000e-5(f)(1) and (3).

     4.    At all times, Defendant has continuously been a company
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incorporated under the laws of the State of Michigan, doing business

in the village of Clinton, Michigan, and has continuously had at least

15 employees.

      5.    At all relevant times, Defendant has continuously been an

employer engaged in an industry affecting commerce within the

meaning of Section 701(b), (g), and (h) of Title VII, 42 U.S.C. §2000e-

(b), (g), and (h).

                     ADMINISTRATIVE PROCEDURES

      6.    More than 30 days prior to the institution of this lawsuit,

Yeiter filed a charge of discrimination with the Commission alleging

violations of Title VII by Defendant.

      7.    On September 30, 2021, the Commission issued to

Defendant a Letter of Determination regarding Yeiter’s charge, found

reasonable cause that Title VII was violated, and invited Defendant to

join with the Commission in informal methods of conciliation to

endeavor to eliminate the unlawful employment practices and

provide appropriate relief.

      8.    The Commission engaged in communications with

Defendant to provide Defendant with the opportunity to remedy the
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discriminatory practices described in the Letter of Determination.

     9.    The Commission was unable to secure from Defendant a

conciliation agreement acceptable to the Commission with respect to

Yeiter’s charge of discrimination.

     10.   On February 7, 2022, the Commission issued a Notice of

Failure of Conciliation to Defendant.

     11.   All conditions precedent to the institution of this lawsuit

have been fulfilled.

                       STATEMENT OF CLAIMS

                                TITLE VII

     12.   Since at least January of 2017, Defendant has engaged in

unlawful employment practices, in violation of Section 703(a)(1) of

Title VII, 42 U.S.C. §2000e-2 (a)(1). These unlawful employment

practices include, but are not limited to the following:

           a.   Defendant has engaged in sex discrimination against

Yeiter and other female employees at its Clinton, Michigan,

headquarters by subjecting them to severe or pervasive sexual

harassment, thus creating and maintaining a hostile work

environment because of their sex;
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           b.    At all relevant times, Michael Potter (“Potter”) has

been Defendant’s majority owner, president and chief executive

officer;

           c.    Since at least January of 2017, Potter has routinely

touched and invaded the personal space of female employees. The

touching was unwelcome and included contact with the backs,

buttocks, shoulders, legs, faces and heads of female employees. In

some instances, Potter touched the legs of female employees for

hours at a time under desks or tables while sitting next to them.

Potter’s repeated invasion of personal space included sitting right

next to or leaning over female employees, within inches of them or

repeatedly brushing up against them, for up to hours at a time.

           d.    Since at least January of 2017, Potter has kissed

multiple female employees on the face or head. The kisses were

unwelcome.

           e.    Since at least January of 2017, Potter has regularly

and inappropriately interjected sexual language and behavior into

the workplace. This included referring to women as “cunts” and

“bitches”, using the phrase “a cunt’s hair” as a unit of measurement,
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telling female employees he would “see you next Tuesday” as a

reference to “cunt”, telling female employees he “just pulled a boner”,

referring to female employees by pet names, and trying to use sexual

phrases and innuendos in marketing materials (including “gotta get

it”, “get it now”, “how much do you want it”, “afternoon delight”, “had

relations with”, “that’s a hand-job”).

           f.   Throughout the course of her employment, Yeiter was

regularly subjected to unwelcome touching and personal space

invasion by Potter.

           g.   Throughout the course of her employment, Yeiter was

subjected to the unwelcome sexual language and behavior as

described in subparagraph (c) above.

           h.    Throughout the course of her employment, Yeiter

was forced to observe female employees whom she supervised endure

the unwanted touching, space invasion, behavior, and language

identified in subparagraphs (c) through (e).

           i.   Yeiter attempted to work with Defendant’s human

resources representative to oppose Potter’s behavior. In response to

such opposition, Potter laughed and told the HR representative that
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“all these girls want me.”

           j.   Potter’s behavior created a sexually hostile work

environment and interfered with Yeiter and similarly aggrieved female

employees’ ability to do their jobs.

           k.   Potter subjected at least two other similarly aggrieved

female employees to repeated unwanted touching, invasion of

personal space and sexual language and behavior described in

subparagraphs (c) through (e) above.

           l.   Potter inappropriately touched every female who held

the social media coordinator position since 2017.

           m.   Potter’s behavior was so pervasive and created such a

hostile and toxic environment that female employees used a code

word to warn each other when Potter approached. They would say

the code word and everyone would be on alert to try and move or

hide to not be stuck alone with or next to Potter.

           n.   Potter’s behavior as described above resulted in the

constructive discharge of at least one female employee.

     13.   The effect of the practices complained of above has been to

deprive Yeiter and other female employees of equal employment
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opportunities and otherwise adversely effects their status as

employees because of their sex.

     14.   The unlawful employment practices complained of above

were and are intentional.

     15.   The unlawful employment practices complained of above

were and are done with reckless indifference to the federally

protected rights of Yeiter and other female employees.

                         PRAYER FOR RELIEF

     Wherefore, the Commission respectfully requests that this Court:

     A.    GRANT a permanent injunction enjoining Defendant

Employer, its officers, successors, assigns, and all persons in active

concert or participation with it, from maintaining a sexually hostile

work environment;

     B.    ORDER Defendant Employer to institute and carry out

policies, practices, and programs which provide equal employment

opportunities for female employees and which eradicate the effects of

its past and present unlawful employment practices;

     C.    ORDER Defendant Employer to make whole Yeiter and

other similarly aggrieved women by providing compensation for past
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and future pecuniary losses resulting from the unlawful practices

described in paragraph 12 above, in amounts to be determined at

trial;

         D.   ORDER Defendant Employer to make whole Yeiter and

other similarly aggrieved women by providing compensation for past

and future non-pecuniary losses resulting from the unlawful

practices described in paragraph 12, above, including but not limited

to emotional pain, suffering, inconvenience, loss of enjoyment of life,

and humiliation, in amounts to be determined at trial;

         E.   ORDER Defendant Employer to pay Yeiter and other

similarly aggrieved women punitive damages for its malicious and

reckless conduct described in paragraph 12 above, in amounts to be

proven at trial;

         F.   ORDER Defendant employer to make similarly situated

women whole by providing appropriate backpay with prejudgment

interest, in amounts to be determined at trial, and other affirmative

relief necessary to eradicate the effects of its unlawful employment

practices.

         G.   GRANT such further relief as the Court deems necessary
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and proper in the public interest.

     H.   AWARD the Commission its costs of this action.

                        JURY TRIAL DEMAND

     The Commission requests a jury trial on all questions of fact

raised by its Complaint.




                                          Respectfully submitted,




                                                /s/ Miles L. Uhlar
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                                          Trial Attorney


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     April 25, 2022




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